         Case 1:16-cv-11719-MPK Document 185 Filed 12/17/21 Page 1 of 8




                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


   ROBERT SULLIVAN,                              No. 1:16-cv-11719-MPK
                 Plaintiff,                      PLAINTIFF’S PETITION FOR
                                                 AWARD OF ATTORNEYS’ FEES
                                                 AND COSTS
   v.
                                                 REQUEST FOR ORAL ARGUMENT

   SELENE FINANCE, LP, et al.,

                  Defendants.




        Plaintiff, David Jennings (“Plaintiff”), pursuant to the Fair Credit Reporting Act

(“FCRA”), 15 U.S.C. § 1681, et seq., the Fair Debt Collection Practices Act (“FDCPA”),

15 U.S.C. § 1692, et seq., and Fed. R. Civ. P. 54(d), hereby requests that the Court award

attorneys’ fees and costs to Plaintiff based on Defendant Selene Finance, LP’s

(“Defendant”) accepted Rule 68 Offer of Judgment.

        Under the applicable lodestar method, the total number of hours expended by

Plaintiff’s counsel in this action was 618.7 hours. The total hours expended were

reasonable and the hourly rates requested are comparable to the prevailing market rates

in the Boston legal community for consumer protection litigators of skill equal to that of

Plaintiff’s counsel. Plaintiff therefore requests $365,195.00 in attorney’s and

paralegal/clerk fees, and $4,576.39 in costs, for a total award of $369,771.39.




                                             1
         Case 1:16-cv-11719-MPK Document 185 Filed 12/17/21 Page 2 of 8




   I.      PLAINTIFF IS ENTITLED TO AN AWARD OF REASONABLE
           ATTORNEYS’ FEES AND COSTS
        Defendant’s Rule 68 Offer of Judgment was served upon Plaintiff on November

1, 2021, and included an offer to “allow judgment to enter for Plaintiff Robert Sullivan

on all claims asserted against Selene (i.e. Count 1 (violation of the Fair Credit Reporting

Act) and Count III (violation of the Federal Debt Collection Practices Act)).” See doc.

177. Plaintiff accepted Defendant’s offer on November 3, 2021. See doc. 177-1. Judgment

will be entered against Defendant on Plaintiff’s FCRA and FDCPA claims. Therefore,

Plaintiff is the prevailing party under 15 U.S.C. §§ 1681n, 1681o, and 1692k.

        The FCRA and FDCPA both entitle the prevailing party to reasonable attorneys’

fees and costs. 15 U.S.C. §§ 1681n and 1681o; 15 U.S.C. § 1692k. See Guimond v. Trans

Union Credit Info. Co., 45 F.3d 1329, 1336 (9th Cir. 1995) (“The FCRA provides that ‘in

the case of any successful action to enforce liability under this section, the costs of the

action together with reasonable attorneys' fees as determined by the court [will be

awarded].’”) (quoting 15 U.S.C. §§ 1681n(3) and 1681o(2)); French v. Corp.

Receivables, Inc., 489 F.3d 402, 403 (1st Cir. 2007) (Under the FDCPA, a prevailing

party is entitled to “the costs of the action, together with reasonable attorneys' fees as

determined by the court.”) (internal quotations and ellipsis omitted) (quoting 15 U.S.C. §

1692k(a)(3)).

        Defendant’s Offer of Judgment also included an offer to pay Plaintiff’s

“reasonable attorneys’ fees and costs as determined by the Court.” See doc. 177.




                                            -2-
          Case 1:16-cv-11719-MPK Document 185 Filed 12/17/21 Page 3 of 8




Plaintiff’s subsequent acceptance Defendant’s Offer authorizes the Court to award

Plaintiff reasonable attorneys’ fees and costs.

   II.      PLAINTIFF’S ATTORNEYS’ FEES SHOULD BE AWARDED
            ACCORDING TO THE LODESTAR CALCULATION, WHICH IS
            PRESUMED REASONABLE
         “The lodestar approach ‘contemplates judicial ascertainment of ‘the number of

hours reasonably expended on the litigation multiplied by a reasonable hourly rate’ as the

starting point in constructing a fee award.’” Guckenberger v. Bos. Univ., 8 F. Supp. 2d 91,

99 (D. Mass. 1998) (quoting Coutin v. Young & Rubicam P.R., Inc., 124 F.3d 331, 337 (1st

Cir.1997) (quoting Hensley v. Eckerhart, 461 U.S. 424, 433, 103 S.Ct. 1933, 76 L.Ed.2d

40 (1983))).

               A. BILLED HOURS

                   1. Plaintiff’s Counsel Has Submitted A Complete Spreadsheet Of Hours
                      Expended In The Prosecution Of His Case
         The first inquiry, the reasonable “number of hours,” is generally computed “by

ascertaining the time counsel actually spent on the case ‘and then subtract[ing] from that

figure hours which were duplicative, unproductive, excessive, or otherwise unnecessary.”

Guckenberger, 8 F. Supp. 2d at 100 (citations omitted). Here, Plaintiff’s counsel has

submitted a spreadsheet which sets forth the number of attorney and staff hours spent in

the prosecution of Plaintiff’s claims over the past five years. See Exhibit A.

                   2. Plaintiff Is Entitled To An Award Of His Fees Incurred In Seeking
                      This Fee Award
         Under First Circuit law, a prevailing party is “normally entitled to attorneys’ fees

incurred in the pursuit of fees” under a fee-shifting statute. Torres-Rivera v. O'Neill-

                                             -3-
        Case 1:16-cv-11719-MPK Document 185 Filed 12/17/21 Page 4 of 8




Cancel, 524 F.3d 331, 340 (1st Cir. 2008). Here, Defendant’s Offer of Judgment included

no limitation on this right, indeed offering to pay all of Plaintiff’s “reasonable attorneys’

fees and costs as determined by the Court.” See doc. 177.

       Further, on November 1, 2021, Plaintiff’s counsel reached out to Defendant’s

counsel and offered to settle the fee award amount without the need for Court intervention.

See Exhibit A, cell 258, C. Plaintiff’s counsel received no response to this offer, and was

therefore forced to file the instant petition.

       Under First Circuit law, pursuant to Defendant’s offer of judgment, and due to

Defendant’s decision not to engage in settlement discussions regarding the fee award,

Plaintiff is entitled to an award of his attorneys’ fees expended in seeking this fee award.

               B. HOURLY RATE

        “The second part of the calculation of the lodestar is the setting of an hourly rate

for each attorney and clerk.” Guckenberger, 8 F. Supp. 2d at 103. “The applicable rates are

‘those prevailing in the community for similar services by lawyers of reasonably

comparable skill, experience and reputation.’” Id. (quoting Grendel's Den, Inc. v. Larkin,

749 F.2d 945, 955 (1st Cir. 1984) (quoting Blum v. Stenson, 465 U.S. 886, 895 n. 11, 104

S.Ct. 1541, 79 L.Ed.2d 891 (1984))).

       The Court “may establish a rate that it considers reasonable based on counsel’s skill

and experience and prevailing market rates.” Phetosomphone v. Allison Reed Group, Inc.,

984 F.2d 4, 8 (1st Cir. 1993). In this case, there is “a presumption that local Boston rates

apply…” Guckenberger, 8 F. Supp. 2d at 103 (citing Maceira v. Pagan, 698 F.2d 38, 40



                                                 -4-
          Case 1:16-cv-11719-MPK Document 185 Filed 12/17/21 Page 5 of 8




(1st Cir. 1983); National Wildlife Fed'n v. Hanson, 859 F.2d 313, 317 (4th Cir.1988) (“The

community in which the court sits is the appropriate starting point for selecting the proper

rate.”)). This local rate is a baseline for the Court’s determination of a reasonable rate in

light of counsel’s experience. See Phetosomphone, 984 F.2d at 8.

                   1. Prevailing Boston Area Market Rates In The Field Of Consumer
                      Protection
         In 2018, the market rate in Massachusetts for state and federal litigation of consumer

law issues ranged from $300 to $725+ per hour, depending on the skill, experience, and

reputation of the litigator, with the top 90% of attorneys charging $725 per hour. See

Exhibit B, United States Consumer Law Attorney Fee Survey Report (2017-2018) (“Fee

Survey”); See also Declaration of Ronald Wilcox, ¶ 25. As a major metropolitan area with

elevated cost of living, the Boston market rate necessarily skews to the higher end of that

range.

                   2. Plaintiff’s Counsel’s Experience, Skill, And Reputation
         David Chami and Nick Yousif have both submitted declarations setting forth in

detail their respective experience in the legal field. Further, Ronald Wilcox, a highly skilled

advocate active nationally in the field of consumer protection, and Adam Deutsch, an

experienced consumer protection litigator practicing in Massachusetts, have also submitted

declarations in support of the hourly rates sought by Plaintiff’s counsel. See Declaration of

Ronal Wilcox; Declaration of Adam Deutsch, respectively.

         Mr. Chami is a highly skilled litigator with extensive experience and success in the

areas of consumer protection, insurance bad faith, and high-profile civil rights actions. See



                                              -5-
        Case 1:16-cv-11719-MPK Document 185 Filed 12/17/21 Page 6 of 8




generally Declaration of David A. Chami. Mr. Chami is the managing partner of Price Law

Group, APC’s consumer protection litigation division, a nationally active litigation team

maintaining hundreds of consumer protection cases in federal courts throughout the

country. Id. Throughout the past five years, Mr. Chami was either the lead or supervising

attorney in over 750 consumer protection cases litigated in federal courts throughout the

nation, recovering nearly $45 million in damages and settlements. Id. Mr. Chami’s

experience, skill, and reputation justifies an hourly rate near the top of the Boston market

rate range, which was over $725 per hour in 2018. His requested rates of $550 for 2016

through 2017, $600 for 2018, and $675 for 2019 through 2021 are therefore more than

reasonable under the lodestar method.

       Mr. Yousif is likewise an experienced consumer protection litigator, licensed to

practice in Massachusetts for over a decade, and growing his consumer protection practice

substantially over the past two years. See generally Declaration of Nicola Yousif. Mr.

Yousif has competently represented over 540 individuals and businesses in bankruptcy

proceedings and over 360 consumers in consumer protection cases relating to mortgages.

Id. His requested rates of $450 for 2016 through 2017, and $500 for 2018 through 2021 are

therefore reasonable under the lodestar method.

              C. TOTAL AMOUNTS BILLED

       Pursuant to the attached spreadsheet, attorney David Chami, attorney Nick Yousif,

and paralegal Florence Lirato expended a total of 618.7 hours prosecuting Plaintiff’s case




                                           -6-
          Case 1:16-cv-11719-MPK Document 185 Filed 12/17/21 Page 7 of 8




over the past five years. Attributing each expended hour its appropriate rate, Plaintiff

requests a total of $365,195.00 in legal and clerk fees.

   III.     THE LODESTAR FIGURE IS PRESUMPTIVELY A REASONABLE
            FEE AWARD AND IT IS DEFENDANT’S BURDEN TO ESTABLISH
            ANY REDUCTION IN ATTORNEY’S FEES.
         “Once arrived at, there is a strong presumption that the lodestar figure . . . represents

a reasonable fee.” Bandera v. City of Quincy, 220 F. Supp. 2d 26, 50 (D. Mass. 2002)

(citations omitted). It has generally been recognized in fee-shifting statutes that “a party

advocating the reduction of the lodestar amount bears the burden of establishing that a

reduction is justified.” United States Football league v. National Football League, 887

F.2d 408, 413 (2d Cir. 1989), cert. denied, 493 U.S. 1071 (1990) (awarding $5,500,000 in

fees on $3 recovery). Therefore, it is Defendant’s burden to shift the lodestar amount. If it

cannot do so, the Court should accept Plaintiff’s lodestar and award the attorneys’ fees and

costs sought.

   IV.      PLAINTIFF’S COSTS

         Plaintiff has submitted a spreadsheet setting forth the costs incurred in litigating

Plaintiff’s claims throughout the past five years. See Declaration of Florence Lirato, ¶ 4;

Exhibit C Based thereon, Plaintiff requests a total of $4,576.39 in incurred costs.

   V.       CONCLUSION

         For the foregoing reasons, Plaintiff respectfully requests that this Court award total

attorney’s and paralegal/clerk fees in the amount of $365,195.00 and costs in the amount

of $4,576.39 for a total award of $369,771.39 to Plaintiff.



                                               -7-
       Case 1:16-cv-11719-MPK Document 185 Filed 12/17/21 Page 8 of 8




                                          RESPECTFULLY SUBMITTED,

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                                    -8-
